Case 1:24-cv-06263-PKC-RML   Document 21-5   Filed 02/20/25   Page 1 of 2 PageID #:
                                      88




                              EXHIBIT
                                     C
Case 1:24-cv-06263-PKC-RML          Document 21-5       Filed 02/20/25      Page 2 of 2 PageID #:
                                             89



                   PROPOSED TEXT MESSAGE NOTICE OF LAWSUIT

                      COURT AUTHORIZED NOTICE OF LAWSUIT

        If you worked for GREAT KITCHEN SUPPORT CORP. and/or CRISTIAN DIAZ,

 (collectively “Defendants”), at any time between September 6, 2021, and the present, as a Kitchen

 Assistant or Cook, you might be entitled to join a lawsuit seeking backpay for unpaid overtime

 compensation and other statutory damages. For additional information about the case, including

 how to join, visit [URL linking to a copy of the court-authorized notice form and/or the court-

 authorized reminder notice when applicable].

        THIS ELECTRONIC NOTICE AND ITS CONTENTS ARE NOT SPAM OR A

 SOLICITATION TO JOIN A LAWSUIT.



 THE COURT HAS NOT TAKEN ANY POSITION REGARDING THE MERITS OF THE

 PLAINTIFFS’ CLAIMS OR OF THE DEFENDANT’S DEFENSES.
